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                               Case 22-11068-JTD                   Doc 27643        Filed 11/05/24                Page 1 of 2




               UNITED STATES BANKRUPTCY COURT
               DISTRICT OF DELAWARE




               A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
               evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of Bankruptcy Procedure of the transfer, other
               than for security, of the claim referenced in this evidence and notice

                Name of Transferor:                                            Name of Transferee:
                FTXCREDITOR, LLC                                               Svalbard II Holdings Limited



                Name and Current Address of Transferor:                        Name and Address where notices and payments
                1509 Bent Ave.,                                                to transferee should be sent:
                Cheyenne, WY 82001
                                                                               Attestor Value Master Fund LP,
                                                                               c/o Attestor Limited
                                                                               7 Seymour Street
                as Transferee of     [ Redacted ]
                                                                               W1H 7JW
                [ Redacted ]                                                   London, United Kingdom,
                                                                               Attn: Steve Gillies




                Claim No./Schedule                  Original Creditor Name        Amount                      Debtor

                Kroll Schedule:                     [ Redacted ]                  Described on Schedule FTX Trading Ltd.
                                                                                                        (d/b/a "FTX")
                221106806763547                                                   F
                                                                                                              (Case No. 22-11068)
                Debtor Schedule F:
                01122440


                                                                                  Described on Schedule
                Claim No:                           [ Redacted ]                                        FTX Trading Ltd.
                                                                                  F                     (d/b/a "FTX")
                93634
                                                                                                              (Case No. 22-11068)



               I declare under penalty of perjury that the information provided in this notice is true and correct to the
               best of my knowledge and belief.


               Name: Christopher Guth                                        Signature:

               Transferee / Transferee’s Agent
               Date: Thu Oct 24 2024
Docusign Envelope ID: A497AFF5-CE34-43B6-BCF2-E929A5C4D317
                            Case 22-11068-JTD                     Doc 27643              Filed 11/05/24              Page 2 of 2




               Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C.
               §§ 152 & 3571.

                                                        EVIDENCE OF TRANSFER OF CLAIM

               TO: Clerk, United States Bankruptcy Court, Southern District of New York, for good and valuable consideration,
               the receipt and sufficiency of which are hereby acknowledged, FTXCREDITOR, LLC                     has unconditionally and
               irrevocably sold, transferred and assigned to Svalbard II Holdings Limited       its successors and assigns, all right, title and
               interest in and to the claim(s) identified below, against FTX Trading LTD et al.



                Schedule F #:                                                      01122440

                Claim Amount:                                                      as detailed on Schedule F


               Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the Federal Rules of
               Bankruptcy Procedure, and stipulates that an order may be entered recognizing this Evidence of Transfer
               of Claim as an unconditional assignment and Buyer as the valid owner of the claim.

               You are hereby requested to make all future payments and distributions, and to give all notices and other
               communications in respect of the claim, to Buyer.



               Date: Thu Oct 24 2024




                BUYER:                                                             SELLER:
                Svalbard II Holdings Limited                                       FTXCREDITOR, LLC




                Name: Christopher Guth                                             Name: Michael Bottjer
                Email: settlements@attestorcapital.com                             Email: claims@ftxcreditor.com
                Title: Authorized Person                                           Title: President
